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UN|TED STATES D|STRICT COURT
WESTERN DlSTRlCT OF NEW YORK

 

ST|PULAT|ON AND ORDER
LELAND P. FLEM|NG D|SCONT|NU|NG ACT|ON
Plaintift,

Civil Action No.: 15-cv-6464(CJS/MWP)
vs.

THE C|TY OF ROCHESTER,

THE C|TY OF ROCHESTER POL|CE DEPARTMENT,
RYAN BEYEA, lND|V|DUALLY AND AS AN OFFlCER
OF THE C|TY OF ROCHESTER POL|CE DEPARTMENT,

Defendants.

 

lT lS HEREBY ST|PULATED AND AGREED by and between the undersigned
counsel for all of the parties herein, that whereas no party is an infant or an incompetent
for whom a committee or a conservatee has been appointed, and no person not a party
has an interest in the subject matter of this proceeding, the same be and hereby is
discontinued, as against the Defendants, The City of Rochester, The City of Rochester
Police Department, Ryan Beyea, individually and as an Ofticer of The City of Rochester
Police Department, l\/lelvin Williams, individually and as an Otficer of The City of
Rochester Police Department, and Other Unknown Officers of The City of Rochester
Police Department with prejudice and without costs to any party as against the other.

This Stipulation may be filed with the County Clerk without further notice.

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DATED; W“…"l/ 37 .2017
Ftochester, New York BFilAN F. CURRAN

Corporation Counsel
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